VOYNOW, BAYARD AND COMPANY
CERTIFIED PUBLIC ACCOUNTANTS
NORTHBROOK CORPORATE CENTER
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mum W.WI3ITE, CPA
December.301 2009
Michael Koufakis
Star Toyota, Inc.
205-11 Northern Boulevard




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Bayside, NY 11361
Re: Star Toyota, Inc.
Star Auto Body of Queen Village 1411C
Star Auto Sales of Queens, =AC (Star Subaru)
Star Mitsubishi
Koufakis Reality LLC
Koufakis Realty 211-52 Jamaica Ave
210-10 Jamaica Ave, LLC
211-48 Jamaica Ave, LLC
Star Hyundai, LLC
Dear Michael:
PAUL. VOYNOW, cPA
We are pleased to confirm and specify the terms of our engagement with the
above mentioned companies and to clarify the nature and extent of the
services we will provide regarding the preparation of its (their) tax
return(s).
We will prepare the 2009 federal tax return, and tax returns for the state
and localities of organization and/or where doing business (collectively,
the "returns) in 2009. You are responsible for providing us all information
necessary to identify all state and localities in which it conducts
business or derives income.
Our engagement will be satisfied upon delivery of the completed returns.
Therefore, you will be solely responsible for filing the returns with the
appropriate taxing authorities.
We will prepare the returns from information provided us. It is your
responsibility to provide all the information required for the preparation
of complete and accurate returns. We will not audit or otherwise verify
the information submitted. To the extent we render any services, it will
be limited to those tasks we deem necessary for the preparation of the
returns only. Historically, we have provided assistance in preparing
certain reconciliations of balance sheet and income statement accounts
based on the information supplied to us. This list is not necessarily all
inclusive:
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Star Toyota, Inc.
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â€¢ Reconciling of Retained Earnings
â€¢ Recognition of Depreciation and Amortization Expenses
Unless otherwise noted by you, this same assistance will be provided during
the current year engagement and is subject to the same terms and conditions
set forth in this letter. Please note that we will not determine the
completeness or accuracy of the information supplied and the assistance we
do provide is not to be construed as an oversight function, in any respect,
of a company's accounting system; therefore, there should be no reliance,
stated or implied, by a company on the accuracy of the assistance we are to
provide. As a result of our assistance, we may propose standard, adjusting,
or correcting journal entries to your books and records. The company,




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however, has final responsibility for reviewing the proposed entries and
understanding the nature and impact of the proposed entries on the returns.
Furthermore, it is the company's responsibility, once these entries have
been agreed to, to post the entries to its accounting system in a timely
manner.
The law provides various penalties that may be imposed when taxpayers
understate their liability. You acknowledge that such understated tax, and
any imposed interest and penalty thereon, are your responsibility. A
company's returns may be selected for review by the taxing authorities or a
company may receive a notice requesting a response to certain issues on a
tax return. Any proposed adjustments by the examining agent are subject to
certain rights of appeal. In the event of such government tax examination
or inquiry, we will clarify the nature and extent of services we will
provide regarding the tax examination or inquiry response and will render
additional invoices for these services.
Any additional services not referenced above will be considered "out of
scope" of this engagement letter. Prior to the commencement of "out of
scope" services, we will discuss the nature and extent of the work that
clarifies these services.
The timeliness of a company's cooperation is essential to our ability to
complete this engagement. Specifically, we must receive sufficient
information from which to prepare the return within a reasonable period of
time prior to the applicable filing deadline.
We will not audit or otherwise verify the data submitted. Accordingly, our
engagement cannot be relied upon to disclose errors, fraud, or other
illegal acts that may exist. However, it may be necessary to ask the
company for clarification of some of the information provided, and we will
inform the company of any material errors, fraud, or other illegal acts
that come to our attention.
You are responsible for maintaining an adequate and efficient accounting
system, for safeguarding assets, for authorizing transactions, and for
retaining supporting documentation for those transactions, all of which
will among other things, help assure the preparation of proper returns.
Furthermore, you are responsible to review all of the information presented
on the tax returns for correctness.
Star Toyota, Inc.
December 30, 2009
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We may encounter instances where the tax law is unclear, or where there may
be conflicts between the taxing authorities/ interpretation of the law and
other supportable positions. In the end, we will adopt, on the company's
behalf the alternative which you select after having considered the
information provided by us. Pursuant to standards prescribed in IRS
Circular 230 and IRC 6694, we are permitted to sign a tax return only if we
have a reasonable belief that there is substantial authority for a tax
position taken on the return or we have a reasonable basis for a tax
position taken on the return and we disclose this tax position on a
separate attachment to the tax return. However, under no circumstances may
we sign a tax return with a tax position that has no reasonable basis.




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Our fees for this engagement are not contingent on the results of our
service. Rather, our fees for this engagement will be based on a number of
factors, including but not limited to, the time spent as well as the
complexity of the services we will perform.
Any inability to sign a tax return, or non-response of information
requested will constitute a basis for our election to terminate our
services. If we elect to terminate our services, our engagement will be
deemed to have been completed upon written notification of termination,
even if we have not completed the returns. The company will be obligated,
through the date of termination, to compensate us for all outstanding
invoices as well as our final invoice.
The company should retain all documents, cancelled checks, and other data
that form the basis of income, deductions, and credits. These may be
necessary to prove the accuracy and completeness of the returns to a taxing
authority. The company has the final responsibility for the tax returns
and, therefore, it should be reviewed carefully before being signed.
In the event we are required to respond to a subpoena, court order or other
legal process for the production of documents and/or testimony relative to
information we obtained and/or prepared during the course of this
engagement, the company agrees to compensate us, as set forth above, for
the time we expend in connection with such response.
In the event that we become obligated to pay any judgement or similar
award, the company agrees to pay any amount in settlement, and any costs
incurred as a result of any inaccurate or incomplete information that the
company provided to us during the course of this engagement. The company
agrees to indemnify us, defend us, and hold us harmless against such
obligations, agreements and/or costs.
We appreciate the opportunity to be of service to you and believe this
letter accurately summarizes the significant terms of the engagement. If
you have any questions, please let us know. We will be pleased to discuss
this letter with you at any time.
If the foregoing is in accordance with your understanding, please sign the
copy of this letter in the space provided and return it to us.
Star Toyota, Inc.
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Very truly yours,
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VOYNOW, BARD AND COMPANY
Certified Public Accountants
ACKNOWLEDGED:
Michael Koufakis
Date




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